






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00411-CV






In the Matter of E.T.






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT


NO. J-16,230, HONORABLE DARLENE BYRNE, JUDGE PRESIDING 






	On May 29, 2001, the State filed a motion to modify disposition alleging that E.T.
violated the terms of his probation.  On June 6, the district court, sitting as a juvenile court, held a
hearing on the State's modification motion and ruled that E.T. violated the terms of his probation
and engaged in delinquent conduct.  The court conducted a disposition hearing and committed E.T.
to the Texas Youth Commission.  E.T. appealed.  See Tex. Fam. Code Ann. § 56.01(c)(1)(C) (West
Supp. 2002). 

	E.T.'s appointed counsel on appeal filed a brief asserting that the appeal is frivolous.
The brief complies with the requirements for such briefs discussed in In re D.A.S., 973 S.W.2d 296
(Tex. 1998); and more generally, in Anders v. California, 386 U.S. 738 (1967).  Counsel states that
he has diligently examined the record and researched the law applicable to the facts and issues in the
case.  Counsel's brief contains a professional evaluation of the record demonstrating why there are
no meritorious errors to be advanced.  A copy of counsel's brief was delivered to E.T. and to his
guardian, and they were advised of their right to examine the appellate record and to file a pro se
brief.  A pro se brief was not filed.  We have independently reviewed the record and agree with
counsel that the appeal is frivolous.  

	We grant counsel's motion to withdraw from the case and affirm the juvenile court's
order modifying the probation judgment of delinquency and the court's order modifying the
probation disposition to a disposition of commitment to the Texas Youth Commission.



					                                                                                   

					Lee Yeakel, Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Yeakel

Affirmed

Filed:   April 18, 2002

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